Case 2:18-cv-00483-JRG Document 105 Filed 09/17/19 Page 1 of 2 PageID #: 2700
                                                         Revised: 9/3/2015
                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                                                         By JillVeazey at 7:33 am, Sep 17, 2019
                            __________DIVISION
                            Marshall
                   APPLICATION TO APPEAR PRO HAC VICE



1.This application is being made for the following: Case #__________________________________
                                                            2:18-cv-00483-JRG
Style/Parties:________________________________________________________________________
               LUMINATI NETWORKS LTD. v. BISCIENCE INC.
2. Applicant is representing the following party/ies: LUMINATI
                                                      __________________________________________
                                                                  NETWORKS LTD.
3.Applicant was admitted to practice in New
                                          __________
                                              York (state) on _____________________
                                                                 06/28/1978                   (date).
4. Applicant is in good standing and is otherwise eligible to practice law before this court.
5. Applicant is not currently suspended or disbarred in any other court.
6. Applicant has has not had an application for admission to practice before another court denied (please
circle appropriate language). If so, give complete information on a separate page.
7. Applicant has has not ever had the privilege to practice before another court suspended (please circle).
If so, give complete information on a separate page.
8. Applicant has has not been disciplined by a court or Bar Association or committee thereof that would
reflect unfavorably upon applicant’s conduct, competency or fitness as a member of the Bar (please
circle). If so, give complete information on a separate page.
9. Describe in detail on a separate page any charges, arrests or convictions for criminal offense(s) filed
against you. Omit minor traffic offenses and misdemeanor offenses committed prior to age 18. (See Page 3)
10. There are no pending grievances or criminal matters pending against the applicant.
11. Applicant has been admitted to practice in the following courts:
______________________________________________________________________________
New Jersey State Bar, U.S. Supreme Court, Fed. Cir., 2nd Cir., SDNY, EDNY
12. Applicant has read and will comply with the Local Rules of the Eastern District of Texas, including
Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”
13. Applicant understands that he/she is being admitted for the limited purpose of appearing in the case
specified above only.
Application Oath:
         I, __________________________________________do
            Ronald Abramson                                          solemnly swear (or affirm) that the
above information is true; that I will discharge the duties of attorney and counselor of this court faithfully;
that I will demean myself uprightly under the law and the highest ethics of our profession; and that I will
support and defend the Constitution of the United States.

Date _______________
      09/16/2019                                    /s/ Ronald Abramson
                                          Signature __________________________________ (/s/Signature)




                    Application Continued on Page 2
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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                  APPLICATION TO APPEAR PRO HAC VICE (Continued)



                                                   Name (please print) _____________________________________
                                                                        Ronald Abramson
                                                   Bar Number /State______________________________________
                                                                       1457126/New York
                                                   Firm Name:       ________________________________________
                                                                    Liston Abramson LLP
                                                   Address/P.O. Box: ____________________________________
                                                                         405 Lexington Ave., 46th Floor
                                                   City/State/Zip: _________________________________________
                                                                   New York, NY 10174
                                                   Telephone #: _________________________________________
                                                                   212-257-1630
                                                   Fax #: ______________________________________________
                                                            917-633-5568
                                                   E-mail Address: ________________________________________
                                                                     ron.abramson@listonabramson.com
                                                   Secondary E-Mail Address: _______________________________

                                          Hello This is a Test               9/17/19
         This application has been approved for the court on: _______________________________________
                                                                                                  2/15/05




                                                                       David A. O'Toole, Clerk
                                                                       U.S. District Court, Eastern District of Texas



                                                                       By _______________________________________
                                                                       Deputy Clerk




Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and   Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email   from the clerk before filing your                   Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
